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                           UNITED STATES OF AMERICA
                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION




UNITED STATES OF AMERICA,

                      Plaintiff,                  Case No. 2:14-cr-16-06

v.                                                HON.R. ALLAN EDGAR

David Anthony Tristan,

                Defendant.
____________________________________/


                              REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on 6/4/2015, after receiving the written consent of defendant and all

counsel. At the hearing, defendant David Anthony Tristan entered a plea of guilty to Count

1, charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute

Methamphetamine in violation of 21:846, 21:841(a)(1), 21:841(b)(1)(A)(viii) , in exchange

for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to

enter an informed plea; that the plea is made knowingly and with full understanding of each

of the rights waived by defendant; that it is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 1 be accepted,

that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that the

order setting conditions of defendant's release remain in effect pending sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement,

determination of defendant's status pending sentencing, and imposition of sentence are

specifically reserved for the district judge.



Date:      9/23/2015                                       /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).
